Case 2:20-cv-09582-JFW-E Document 330 Filed 07/16/22 Page 1 of 2 Page ID #:29703




   1 LUIS LI (State Bar No. 156081)
     Luis.Li@wsgr.com
   2 ERIC P. TUTTLE (State Bar No. 248440)
     Eric.Tuttle@wsgr.com
   3 WILSON SONSINI GOODRICH & ROSATI
     633 West Fifth Street, Suite 1550
   4 Los Angeles, California 90071
     Telephone: (323) 210-2900
   5 Facsimile: (866) 974-7329
   6 CRAIG JENNINGS LAVOIE (State Bar No. 293079)
     Craig.Lavoie@mto.com
   7 JENNIFER L. BRYANT (State Bar No. 293371)
     Jennifer.Bryant@mto.com
   8 MUNGER, TOLLES & OLSON LLP
     350 South Grand Avenue, Fiftieth Floor
   9 Los Angeles, California 90071-3426
     Telephone: (213) 683-9100
  10 Facsimile: (213) 687-3702
  11 Attorneys for Plaintiff Vanessa Bryant
  12
  13                            UNITED STATES DISTRICT COURT
  14           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15
  16 VANESSA BRYANT,                                 Case No. 2:20-cv-09582-JFW-E
  17               Plaintiff,                        DECLARATION OF ERIC P.
                                                     TUTTLE IN SUPPORT OF
  18        vs.                                      PLAINTIFF’S OPPOSITION TO
                                                     BRIAN JORDAN’S RENEWED EX
  19 COUNTY OF LOS ANGELES, et al.,                  PARTE APPLICATION
  20               Defendants.                       Pretrial Conference: None Set
  21
                                                     Trial Date: None Set
  22
  23                                                 The Honorable John F. Walter
                                                     Magistrate Judge Charles F. Eick
  24
  25
  26
  27
  28
                                                                      Case No. 2:20-cv-09582-JFW-E
          DECL. OF ERIC TUTTLE ISO PLAINTIFF’S OPPOSITION TO RENEWED EX PARTE APPLICATION
Case 2:20-cv-09582-JFW-E Document 330 Filed 07/16/22 Page 2 of 2 Page ID #:29704




   1                         DECLARATION OF ERIC TUTTLE
   2         I, Eric Tuttle, hereby declare:
   3         1.    I am an attorney at the law firm Wilson Sonsini Goodrich & Rosati and
   4 counsel of record for Plaintiff Vanessa Bryant in the above-captioned matter. I have
   5 personal knowledge of the facts set forth in this declaration, and, if called as a
   6 witness, I could and would testify competently to the matters set forth herein.
   7         2.    Attached hereto as Exhibit A is a true and correct copy of a letter I
   8 received from Brian Jordan’s counsel, Steven H. Haney, dated July 14, 2022.
   9         3.    Attached hereto as Exhibit B is a true and correct copy of an email
  10 exchange between me and Brian Jordan’s counsel at the law firm of Haney & Shah,
  11 LLP, dated July 14 and 15, 2022.
  12         4.    Counsel for Mr. Jordan did not respond to the last message I sent on
  13 July 15, 2022, and did not meet and confer with me about this ex parte application.
  14         5.    Counsel for Mr. Jordan states in his email: “I already did a joint call
  15 regarding the filing of the ex parte to have the motion for a protective order filed
  16 under seal and to shorten the time in which to have the motion heard, and everyone
  17 indicated that they opposed.” (Ex. B at 6.) I understood him to be referring to a call
  18 that took place in connection with Mr. Jordan’s prior ex parte application on July 1.
  19 There was no such call in connection with this ex parte application. During the call
  20 in connection with the July 1 application, the parties did not meet and confer about a
  21 request to shorten time and counsel for Plaintiff did not say she opposed shortening
  22 time.
  23         I declare under penalty of perjury under the laws of the United States of
  24 America that the foregoing is true and correct.
  25         Executed on this 16th day of July, 2022, at Seattle, Washington.
  26                                                         /s/ Eric Tuttle
                                                             Eric P. Tuttle
  27
  28
                                                 -1-                  Case No. 2:20-cv-09582-JFW-E
          DECL. OF ERIC TUTTLE ISO PLAINTIFF’S OPPOSITION TO RENEWED EX PARTE APPLICATION
